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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEW JERSEY



  DENARD TRAPP,                                 :
                                                :            Civil Action No.
                 Plaintiff,                     :            22-cv-55 (PGS)
                                                :
          v.                                    :
                                                :
  KEVIN DOWNEY                                  :
                                                :
                 Defendant.                     :



       WHEREAS, there is an Order (ECF No. 27) in another case, Trapp v. GDBT1 Trust 2011-1,

et al., United States District Court, District of New Jersey, Civil Action No. 16-cv-5901 (PGS), that

requires Mr. Trapp’s attention; and

       WHEREAS, the Order requires that prior to submitting any additional claims or a complaint,

Mr. Trapp must submit a sworn statement certifying that the additional claims have not been

previously raised or disposed of by any federal or state court; and

       WHEREAS the procedure set forth in the Order has not been followed.

       NOW THEREFORE, IT IS on this 5th day of May, 2022;

       ORDERED that Mr. Trapp shall appear at the Clarkson Fisher Courthouse at 402 East State

Street, Trenton, New Jersey on June 7, 2022 at 12:00 p.m. to show cause why he has not complied

with the aforementioned Order (ECF No. 27, No. 16-cv-5901).


                                              s/Peter G. Sheridan
                                              PETER G. SHERIDAN, U.S.D.J.
